             UNITED STATES DISTRICT COURT FOR THE
             WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                    CRIMINAL CASE NO. 1:09cr70-1



UNITED STATES OF AMERICA, )
                            )
                            )
         vs.                )           ORDER
                            )
                            )
TORREY TEDERIAL ERVIN.      )
___________________________ )


     THIS MATTER is before the Court upon the Motion of the

Government requesting that the Defendant's sentence be reduced

pursuant to Rule 35 of the Federal Rules of Criminal Procedure. [Doc. 47].

     For the reasons stated in the Government's Motion, the Court finds

that the Defendant has provided substantial assistance to the Government

since the imposition of his sentence of 188 months of imprisonment on

September 23, 2010.

     Accordingly, IT IS, THEREFORE, ORDERED that the Government’s

Rule 35 Motion [Doc. 47] is ALLOWED, and the Defendant's sentence is

hereby reduced from a term of 188 months of imprisonment to a term of

164 months of imprisonment, with all other terms and conditions of the




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Judgment of Conviction [Doc. 41] entered on October 18, 2010, to remain

in full force and effect.

      IT IS FURTHER ORDERED that the Clerk of Court is directed to

prepare an Amended Judgment in accordance with the terms stated

herein.

      IT IS FURTHER ORDERED that the Clerk send copies of this Order

to the Defendant, counsel for the Defendant, the United States Attorney,

the United States Marshals Service, and the United States Probation

Office.

      IT IS SO ORDERED.

                                     Signed: March 23, 2011




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